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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA

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                                                                        :
In re:                                                                  :   Chapter 9
                                                                        :
PAULS VALLEY HOSPITAL AUTHORITY,                                        :   Case No. 13-10791
                                                                        :
                           Debtor.                                      :   Judge Hall
                                                                        :
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                         MOTION FOR ENTRY OF FINAL DECREE
                       AND NOTICE OF OPPORTUNITY FOR HEARING

        The Pauls Valley Hospital Authority d/b/a Pauls Valley General Hospital (“Hospital”)

respectfully moves this Court to enter a Final Decree in this Chapter 9 Case pursuant to 11

U.S.C. §§ 350(a) and 945(b). In support of this motion, the Hospital states as follows:

         1.          This Court has jurisdiction and venue over this matter pursuant to 28 U.S.C.

§ 1334, 28 U.S.C. § 157(a) and (b), 11 U.S.C. §§ 350(a) and 945(b). This matter is a “core”

proceeding under 28 U.S.C. 157(b)(2).

         2.          On March 1, 2013, the Hospital filed a voluntary petition for relief under

Chapter 9 of the United States Bankruptcy Code in the United States Bankruptcy Court for the

Western District of Oklahoma.

         3.          On December 11, 2015, the Modified Plan of Adjustment of the Pauls Valley

Hospital Authority d/b/a Pauls Valley General Hospital (the “Plan”) was submitted for approval

by the Court.

         4.          The Court entered an order confirming the Plan on February 2, 2016.

         5.          In accordance with the Plan, the Hospital is required to administer the Plan.

         6.          All motions, contested matters, objections to claims, and claim
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prosecutions have now been resolved. There are no unresolved adversary proceedings or

contested matters pending in this case, and none are contemplated, pursuant to the powers retained

by this Court under the Plan.

        7.        The Hospital has made disbursements pursuant to the Plan, including payment of

administrative claims, secured obligations, and unsecured creditors, and will continue to

administer the Plan after the entry of the Final Decree. It is anticipated that the initial

distributions on account of general unsecured creditors will occur in the next 30 days.

        8.        There are no fees due to the United States Trustee.

        9.        Pursuant to 11 U.S.C. §§ 350(a) and 945(b), upon appropriate motion, the

Court shall close a Chapter 9 case after the estate has been fully administered. There are no

further matters concerning the Hospital’s Chapter 9 estate that require assistance of or

presentation to this Court.

       10.     There is no requirement that a final report be filed with the Court before a final

decree is entered in this Chapter 9 case.

       11.     A proposed Final Decree is attached hereto as Exhibit “A.”

       WHEREFORE, the Hospital respectfully requests that this Court enter the proposed Final

Decree, closing its Chapter 9 Case, as of the date of the decree, and for such other and further

relief as this Court deems just and proper.

                       NOTICE OF OPPORTUNITY FOR HEARING

       Your rights may be affected. You should read this document carefully and consult

your attorney about your rights and the effect of this document. If you do not want the Court

to grant the requested relief, or you wish to have your views considered, you must file a written

response or objection to the requested relief with the Clerk of the United States Bankruptcy



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Court for the Western District of Oklahoma, 215 Dean A. McGee Avenue, Oklahoma City, OK

73102 no later than 14 days from the date of filing of this request for relief. You should also mail

a file-stamped copy of your response or objection to the undersigned movant, movant’s attorney,

and any other party who is required to be served under applicable law, and file a certificate of

service with the Court. If no response or objection is timely filed, the Court may grant the

requested relief without a hearing or further notice. The 14 day period includes the three days

allowed for mailing provided for in Federal Rule of Bankruptcy Procedure 9006(f).



       Dated: September 7, 2016:              MCDONALD, MCCANN
                                               METCALF & METCALF, LLP

                                              /s/ Chad J. Kutmas
                                              _________________________________________
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                                              d/b/a Pauls Valley General Hospital




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        EXHIBIT “A”
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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA

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                                                                        :
In re:                                                                  :   Chapter 9
                                                                        :
PAULS VALLEY HOSPITAL AUTHORITY,                                        :   Case No. 13-10791
                                                                        :
                           Debtor.                                      :   Judge Hall
                                                                        :
------------------------------------------------------------------------x

                                              FINAL DECREE

        The Pauls Valley Hospital Authority d/b/a Pauls Valley General Hospital (“Hospital”)

has filed a motion for entry of a Final Decree on September 7, 2016, and reports that the

Hospital’s estate has been fully administered.

        Accordingly, it is ordered that this Chapter 9 Case is closed pursuant to 11 U.S.C. §§

350(a) and 945(b).

                                                #        #        #
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                    [movant responsible for service on appropriate parties]


APPROVED AS TO FORM:

/s/ Chad J. Kutmas
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d/b/a Pauls Valley General Hospital




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